                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA

                         Plaintiff,

       v.                                              Case No. 19-cr-40044-DDC


JACOB GRAGG,

                         Defendant.


                                      PLEA AGREEMENT

        The United States of America, by and through Assistant United States Attorney, Skipper

Jacobs, and Ja.cob Gragg the defendant, personally and by and through his counsel, James

Heathman, hereby enter into the following Plea Agreement pursuant to Rule 11 of the Federal

Rules of Criminal Procedure:

        1.     Defendant's Guilty Plea. The defendant agrees to plead guilty to Count 1 of the

Indictment charging a violation of 18 U.S.C. § 922(o), that is, Unlawful Possession of a Machine

Gun. By entering into this Plea Agreement, the defendant admits to knowingly committing the

offense, and _to being guilty of the offense. The defendant understands that the maximum sentence

which may be imposed as to Count 1 of the Indictment to which he has agreed to plead guilty is

not more than 10 years of imprisonment, a $250,000 fine, not more. than 3 years of supervised

release, and a $100.00 mandatory special assessment. The defendant fmiher agrees to forfeit

property to the United States, as agreed.

       2. .    Factual 'Basis for the Guilty Plea. The patties agree the facts constituting the

offense to which the defendant is pleading guilty are as follows :




                                                                                      Ver. 19J01
    (a) On or about May 2, 2019, agents of the Bureau of Alcohol , Tobacco, Firearms and
        Explosives ("ATF") executed a search warrant at the defendant's residence in Topeka,
        Kansas;

    (b) During the search of the residence, agents recovered seven (7) modified slide plate covers
        bearing the markings "Make in .Austria" and the likeness of the Glock, Inc., emblem,
        commonly known as a " Glock switch" (hereafter referred to as "the devices"); ·

    (c) The devices were examined by the ATF Firearms Technology Branch and determined to
        be used and intended for conve1ting Glock pistols from semi-automatic rates of fire to
        fully-automatic rates of fire, i.e. a machinegun;

    (d) The A TF Firearms Technology Branch further determined the devices to be
         machinegun(s), as defined by 26, U.S.C. §5845(b), that is, "any part designed and intei1ded
         solely and exclusively, or combination of patts designed and intended, for use in conve1ting
       · a weapon into a machinegun,"

    (e) The defendant admits he knew he possessed the devices and knew them to be a pa1t or pa1ts
        designed and intended to conve1t Glock pistols to machineguns.


       3.      Application of the Sentencing Guidelines. The parties request that the Court

appl_y the United States Sentencing Guidelines (Guidelines) to calculate the applicable sentence

and impose a sentence consistent with the Guidelines.         The defendant agrees to waive all

constitutional challenges to the validity of the Guidelines.      The defendant understands and .

acknowledges that the Court will find , by a preponderance of the evidence, the facts used to

determine the offense level, and in making its findings, that the Court may consider any reliable

evidence, including hearsay. Nothing in this section pt:events the parties from filing objections to

the Presentence Report prepared by the United States Probation Office, or from arguing the

application of specific section~ of the Guidelines. The parties agree that the Coutt will determine

the final Guideline range. The patties understand this Plea Agreement binds the parties only and

does not bind the Comt.

       4.      Relevant Conduct. The parties have agreed to the application of the Guidelines.

Therefore, the defendant agrees that the conduct charged in any dismissed counts, as well as all


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other uncharged_related .criminal activity, will be considered as relevant conduct for purposes of

calculating the offense level for the count(s) of conviction, in accordance with United States

,Sentencing Guidelines {U.S.S.G.) § 1B 1.3.

        5.     Government's Agreements. In return for the defendant's plea of guilty as set fo11h

herein, the United States Attorney for the District of Kansas agrees:

        (a)    to dismiss the remaining counts of the Indictment at the time of sentencing;

        (b)    to not file any additional charges against the defendant arising out of the facts
               forming the basis for the present Indictment;

        (c)    to recommend a sentence at the low end of the applicable Guideline 1:ange, and to
               allow the defendant to reserve the right to request a downward depai1ure and/or a
               variance; and

       (d)     to recommend the defendant receive a two (2) level reduction in the applicable
               offense level under U.S.S.G. § 3El.1 for acceptance of responsibility. In addition,
               if his offense level is 16 or greater, prior to any reduction for acceptance of
               responsibility, and the Court finds he qualifies for a two-level reduction, the United
               States will move at the time of sentencing for an additional one-level reduction for
               acceptance of responsibility because he timely notified the government of his
               intention to enter a plea of guilty.

       The United States' obligations under this Paragraph are contingent upon the defendant's

continuing to manifest an acceptance ofresponsibility. If the defendant denies or gives conflicting

statements as to his invo_lvement, falsely denies or frivolously contests relevant conduct the Coui1

determines to be true, willfully obstructs or impedes the administration of justice, as defined by

U.S.S.G. § 3C 1.1 (or willfully attempts to do so), oi" has engaged in additional criminal conduct,

the United States reserves the right to petition the Coui1 for a hearing to determine if he has

breached this Plea Agreement.

       If the Coui1 finds by a preponderance of the evidence that the defendant (1) has breached

or violated this Plea Agreement; (2) has willfully obstructed or impeded the administration of

justice, as defined by U.S.S.G. § 3Cl.1 (or willfully attempted to do so); (3) has engaged in


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additional criminal conduct; or (4) has otherwise failed _to adhere to this Plea Agreement's terms,

the United · States shall not be bound by this Paragraph, and may pursue any additional charges

arising from the criminal activity under investigation, as well as any charges for any pe1jury, false

statement, or obstruction of justice that may have occurred.

        If the Court finds the. defendant has violated this Plea Agreement, he understands and

agrees that all statements he made, any testimony· he gave before a grand jury or any tribunal, or

any leads from such statements or testimony, shall be admissible against him in any and all

criminal proceedings. The defendant waives any rights which might be asserted under the United

States Constitution, any statute, Federal Rule of Criminal Procedure 11 (f), Federal Rule of

Evidence 410, or any other federal rule that pertains to the admissibility of any statements he made

subsequent to this Plea Agreement.

        6.      Sentence to be Determined by the Court. The defendant understands that the

sentence to be imposed will be determined solely by the United States District Judge. The United

States cannot and has not made any promise or representation as to what sentence he will receive.

        7.      Forfeiture of Assets. The defendant agrees to the forfeiture of the following

property to the United States: seven (7) modified slide plate covers compatible with Glock pistols,

bearing the markings "Made in AUSTRIA" and a likeness of the Glock Inc., emblem, commonly

referred to as a ''Glockswitch," as well as any accompanying ammunition or explosives, including,

but not limited to one-half (0.5) pounds of a mixed binary explosive commonly known as

Tannerite. The defendant agrees that this property was involved or used in the commission of

Count 1. The defendant knowingly and voluntarily waives his right to a jury trial regarding the

forfeiture of prope1ty, and voluntarily waives all constitutional, legal and equitable defenses to the

imposition of a forfeiture judgment. The defendant acknowledges and agrees that the forfeiture of

this prope1ty shall not be deemed an alteration of his sentence or this agreement, and shall not be

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treated as satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the Couit

may impose upon him in addition to forfeiture.          Additionally, the defendant agrees to the

immediate entry of the Preliminary Order of Forfeiture, and agrees to sign any and all documents

necessary to effectuate the forfeiture and transfer of his interest and possession of the property

identified in this paragraph to the United States prior to the imposition of s.entence.

        8.       Withdrawal of Plea Not Permitted. The defendant understands that if the Court

accepts this Plea Agreement, but imposes a sentence with which he does not agree, he will not be

permitted to withdraw his guilty plea.

        9.       Payme11t of Special Assessment. The defendant understands that a mandatory

special assessment of $100 .00 per count of conviction will be entered against him at the time of

sentencing. The defendant agrees to deliver to the Clerk of the United States District Court

payment in the appropriate amount no later than the day of sentencing. The defendant has the

burden of establishing an inability to pay the required special assessment.               The patties

acknowledge that if th~ Couit finds the defendant i~ without resources to pay the special

assessment at the time of sentencing, the Couit may allow payment during his period of

incarceration.

       10.       Waiver of Appeal and Collateral Attack.            The defendant knowingly and

voluntarily waives any right to appeal or collaterally attack any matter in connection with this

prosecution, his conviction, or the components of the sentence to be imposed herein, including the

length and conditions of supervised release, as well as any sentence imposed upon a i·evocation of

supervised release. The defendant is aware that 18 U.S .C. § 3742 affords him the right to appeal

the conviction and sente;nce imposed.      The defendant also waives any right to challenge his

sentence, or the manner in which it was determined, or otherwise attempt to modify or change his

sentence, in any collateral attack, including, but not limited to, a motion brought under 28 U.S.C.

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§ 2255 (except as limited by United States v. Cockerham, 237 F.3d 1179, 1187 (I 0th Cir.2001)),

or a motion brought under Federal Rule of Civil Procedure 60(6 ). In other words, the defendant
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waives the right to appeal the sentence imposed in this case, except to the extent, if any, the Court

departs upwards from the sentencing Guideline range that the Comt determines to be applicable.

However, if the United States exercises its right to appeal the sentence imposed, as authorized by

18 U.S .C. § 3742(6), the defendant is released from this waiver and may appeal the sentence ·

received, as authorized by 18 U.S .C. § 3742(a). Notwithstanding the forgoing waivers, the patties

~nderstand that the defendant in no way waives any subsequent claims with regards to ineffective

assistance of counsel or prosecutorial misconduct.

        11 .    FOIA and Privacy Act Waiver. The defendant waives all rights, whether asse1ted

directly or by a representative, to request or receive from any depa1tment or agency of the United ·

States any records pertaining to the investigation or prosecution of this case, including, without

limitation, any records that may be sought under the Freedom oflnformation Act, 5 U.S.C. § 552.

The defendant fmther waives any rights conferred under the Privacy Act of 1974, 5 U.S.C. § 552a,

to prevent or object to the disclosure of records or materials pe1taining to this case.

        12.    Full Disdosure by United States. The defendant understands the United States

will provide to the Court and the United States Probation Office all information it deems relevant

to determining the appropriate sentence in this case. This may include information concerning his

background, character, and conduct, including the entirety of his criminal activities. The defendant

understands these disclosures are not limited to the count to which he is pleading guilty. The

United States may respond to comments he or his attorney makes, or to positions he or his attorney

takes, and to correct any misstatements or inaccuracies. The United States further reserves its right

to make any recommendations it deems appropriate regarding the disposition of this case, subject

only to any limitations set forth in this Plea Agreement. The defendant also has the right to provide

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information concerning the offense and to make recommendations to the Court and the United

States Probation Office.

        13.    Parties to the Agreement. The defendant understands this Plea Agreement binds

only him and the United States Attorney for the District of Kansas, and that it does not bind any

other federal, state, or local prosecution authority.

        14.    Voluntariness of Guilty Plea. The defendant has had sufficient time to discuss

this case, the evidence, and this Plea Agreement with his attorney and he is fully satisfied with the

advice and representation his attorney provided. Further, the defendant acknowledges that he has

read the Plea Agreement, understands it, and agrees it is true and accurate and not the result of any

threats, duress or coercion. The defendant further understands that this Plea Agreement supersedes

any and all other agreements or negotiations between the parties, and unless subsequently

supplemented in writing with the joint approval of the parties, this Plea Agreement embodies each

and every term of the agreement between the parties. The defendant acknowledges that he is

entering into this Plea Agreement and is pleading guilty because he is guilty.                  He further

acknowledges that he is entering his guilty plea freely, voluntarily, and knowingly.



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